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IN THE UNITED STATES DISTRICT COURT *
FOR THE DISTRICT OF MARYLAND

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Golaelen x Vt Yehn

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YX i\ 19994
Laver | ‘lac Dpte ry 20172 *
(Full name, date of birth, identification #, address of petitioner)

Plaintiff,

ve Case No.: PWr-gO- 64

(Leave blank. To be filled in by Court.)

 
    

 

 

 

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€ atten Coviter X (rizor. Medien
dept. (240 ill. de
Uoacr ih iP dorre I “WY PO 77 2 *
‘TT (Full name and address of respondent)
Defendant(s).
COMPLAINT

I. Previous Lawsuits

A. Have you filed other cases in state or federal court dealing with the same facts as in this

case or against the same defendants? _~
YES O NO a

B. If you answered YES, describe that case(s) in the spaces below.
1. Parties to the other case(s):

Plaintiff:

 

Defendant(s):

 

2. Court (if a federal court name the district; if a state court name the city or county):

 

 

 

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3. Case No.:

 

4. Date filed:

 

 

5. Name of judge that handled the case:

 

6. Disposition (won, dismissed, still pending, on appeal):

 

7. Date of Disposition:

 

Ii. Administrative Proceedings

A. If you are a prisoner, did you file a grievance as required by the prison’s administrative
remedy procedures?

yes 2 no O
1. Ifyou answered YES:

a. What was the result? _)\ta% 4 fe tude te MOoCcess AaneVance

core,

Se f fi 38
b. Did you appeal? Caw Yor aD.
YES O No O

2. If you answered NO to either of the questions above, explain why:

 

 

Il. Statement of Claim
(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
number and explain each claim in a separate paragraph.)

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IV. Relief
(State briefly what you want the Court to do for you.)

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Signature of Fm fp

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Printed Name —

13400 D. lle De, Upper Mz | lore MP Q0722

Address

 

 

Telephone Number

 

Email Address

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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*
(Full name, date of birth, identification #, address of petitioner)
Plaintiff,
v. Case No.:

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Medical Service

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“|g is name oo address of defendant)

efendant(s).
CERTIFICATE OF SERVICE
I hereby certify that on

a copy of

 

was mailed via first class mail, postage prepaid, to

 

 

   

 

Signature of Plaintiff y

Sebastia, St Fehr

Printed Name

Huo pill Dey Upper Maclboa, MD 2095

Address

 

 

 

 

Telephone Number

 

Email Address

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